oes Pe oe 4 John E. Wetzel, et al,

“>” ase 2:21-cv-01248-KSM  Document'12 - Filed 06/16/21..Page1of16.

ame Sos oie
UNITED STATES DistRicr Courr ke
: “FOR THE EASTERN DisTRICT OF > PENNSHLVANIA

ae wey Rey’ Lee Williams, .Pros se,

Plaintiff, Boe LU. 8. », Magistrate,

° S 8 3985 ¢ CIVIL ACTION
- Defendants... 3 a

ee ee ea

y Pursuant to o Fed. R. Civ. P, 5643 Plaintiff Roy Lee Williams requests the Court to

— grant him, summary yjudgment as to lability on his § 1983 claim under the Eighth

Amendment against Defendant Wetzel in his individual capacity and his claim under

me Title W of the ADA against Defendant Wetzel and the Pennsylvania Depat tment of
ah Corrections in 1 their official capacities. The r reasons s therefor are set forth i in the Plaintft’

: declaration and undisputed, facts in support of this motion, we -

~ Declaration i in Support. of.
‘Motion for Partial Summary Judgment —

“Roy Lee 2 Williams declares, subject to penalty of perjury under 28 v. s C. § 1746,

o ‘that the efllowing is true and correct:

oon. Richard A. Lloret 2 a ee

4 I am the plaintiff in this case, The Complain alleges that I have. a | mental health : -

se diay and that Is was s held i in n permanent, degrading, and inhuman solitary confine--

ment without rationale for 27 years, in violation of the Bighth Amendment’ 8 prohibition fa a on

as aginst cruel and unusual punishment and against Title I of the ADA.

2. In December 1993, I was placed i in ) Maximum Administrative Custody.

3. Int n 1995, I was placed on n the prison’ 8 mental health roster rafter: a suicide
Casé 2:21-cv-01248-KSM.. Document 12. Filed-06/16/21 . Page 2 0f 16

- OL attempt. i informed the mental health staff that Iv was = diagnosed with suicidal ideation . .

ws as as a child and placed ir in a mental hospital a as a result,

4. Ty was. confined alone for 23 hours a day in a a small cell, thes size of a regular

oe - mtn spot,

5. My cell and cell block w were e illuminated bya artificial i: 24) hours a a day, Seas

4 interfering with normal sleep.

6. Thave experienced ruminations, intrusive thoughts, oversensitivty to external oe

os stim, irrational anger, instability, difficulty with attention & memory, and. a datendeney. eS oe

a to socially withdraw. a

7: My feelings of depression and sadness have exacerbated by long-term isolation woe

8. On weekday mornings, weather permitting, Iv was s allowed to g0 outside: in a
a enclosure for: no more than ¢ one hour, 4 So
S we 9. On weekends, I was s confined t to my « cell sate as slong as 70 consecutive hours
: between Friday mor ning and Monday morning; in instances where a holiday abuts a
: : weekend, this period of isolation extended an additional 24 hours. -

“10. These dehumanizing conditions have been detrimental to my physical and

Ch : poyehologea health

"Statement of f Undisputed Facts

1 Defendant Wetzel and the ° Pennsylvania Department of Cort ections s knew of :

| ‘the constitutional deficiencies in treatment of mentally il incar cer erated per sons.

12. Ins a 2014 report the Department 0 of Justice found that the Defendants’ use of ° Bae

oH solitary confinement toward mentally i il incarcer: crated d per sons cr reated substantial risks og!

: of harm and denied them access tos services and programs offered to other persons.
as oe See letter from Witold Walezak to John E, Wetzel, Sec cy, F Pa. Dep’ t of Cort. dated d : : : ce

oe . other p persons. Fi its, the mental health sta v were aware eof Plaintiff hospitalization ¢ asa. Soe

2 45. In that letter, the ACLU outlined for the Defendants the reforms it must u use. . LS

cy (opot available at www, justice.g gov cand at exhibit Ci in the complaint).

13. F ollowing the success sof the reforms implemented by the Defendants as. as

: "e result of the investigation conducted by. the DOI as well as the changes made as a result. S ne “
: oft the settlement agreement, Disability Rights Network of Pennsylvania v. , Wetzel, a: 13- - S a oh
o . ‘er006a5 OM. D. Pa, J an, % 2015) (available at www. w clearinghouse nel). :

14. Several attorneys from the ACLU of Pennsylvania sent a letter to the Defend- CoD
a Feb. 13 2017 (attached a as exhibit A).

a “to safely classify death- sentenced prisoners using procedures similar to its existing

“Pale for non-capital prisoners with mental health disabilities I d. at 13.

16. The Defendants rejected those proposal and “determined to continue to O oo ws

oy administer its current capital ¢ case housing policy.” See letter from Theron R Perez,

- Chief Counsel, , Dep t of Corr. to Witold Walezak, J une 9, 2017 7 (attached as s exhibit B).

Le ‘Defendants 2 are lable a as a .matter of law

1 ‘The Defendants mew the v use 2 of prolonged i isolation toward Plainti created : e

hos : i a substantial risk of harm and denied hima access to services sand programs s offer ed to. es

child z and particular vulnerability to suicide. Second, the e Department of J ustice Civil

- Rights Division informed the Defendants i in 2014 | about the constitutional deficiencies’

- in thei practice of prolonged isolation toward the treatment of mentally il incarcerated

os : . : persons.’ Third, iti is s clear from the Defendants letter rreecting the ACLU’ 8 's proposals,

oe : failure t to act, is adequately pled.

Case 2: 24: >CV- 01248- KSM - ‘Document 12. Filed 06/16/21. Page: 3 of 16 A . Co

| Case 2:21-cv-01248-KSM . Document 12. Filed.06/16/21. Page 4of16. 9.

aS Conclusion op

: "A prisoner 's s [sentence] does not strip him of his right to reasonable _

o : accommodations, and a prison’ 's obligation to comply with the ADA and RA does not.

. disappear when inmates are placed i ina segregated housing unit, regardless of the oe 3

oe yeason. for which they a are housed there." "Furgess v. Pa. - Dep t of Cs Corrs. 933. F. “ad 285, o nos a eS

. 291- 92.

For the foregoing reasons, s the Court should grant partial summary judgmen, on | oe . eS

- pa to the Plaintiff on his Eighth Amendment and Title I claims. The amount of

: “damages due io the Plainti must be determined 4 at trial,

oe Respectfully submitted, - a

Date :

scl ‘ oenix, #CF 4784
a ~ 1200 Mokychic Drive a
. Collegeville, PA 19426 000
oe Case 2:21-cv-01248-KSM ~ Document.12. Filed 06/16/21 ° Page 5 of 16 o Sh!
- Unrrep Srares District Court oy DS
Te FOR THE EASTERN DisTRICT ‘OF PENNSYLVANIA “"} Re

ae Hon. Richard A. Lloret.

. fos Roy! Lee Williams, pro se, Oo o en
ts  U, S. Magistrate

- Plaintiff, :
: a No. 2: :21-CV-01248
oe 8 1983 ¢ CIVIL ACTION .

oy a v.

— o a John E. Wetzel, et al.
. Defendants. .

ee ee eee:

. ‘L 1, the plaintiff Roy Li Lee 2 Williams, declare subject: to penalty ¢ of perjury ‘under 28 a SARE
U.S.C 8 1746, that I have caused a correct copy. of the foregoing Motion for Partial

nes Summary J udgement i to be served on the following party’ via first-class U. S. Mail
co (postage pre-paid), on the date indicated: .

John E. Wetzel ot
1920 Technology Parkway -
_. Mechanicsburg, PA 17050 ~ 2

was Respectfully submitted, - a EIN

| Roy ise Williams prose Date
“SCIPhoenix, #CF 478400

~. 1200 Mokychic Drive
Collegeville, PA 19426.
Case 2:21-cv-01248-KSM.Docurient 12» Filed ‘06/16/21 Page 6 of16

Exhibit A

Case 2:21-cv-01248-KSM Document 12

Eastern Region Office
P.O. Box 60173
Philadelphia, PA 19102
215-592-1513 T
215-592-1343 F

Central Region Office
P.O. Box 11761
Harrisburg, PA 17108
717-238-2258 T
717-236-6895 F

Western Region Office
247 Fort Pitt Blvd
Pittsburgh, PA 15222
412-681-7736 T
412-681-8707 F

(8x

Filed 06/16/21 Page 7 of 16

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Nae ea A eT eC
Oh iad A DALY

February 13, 2017

BY E-MAIL: jowetzel@pa.gov

John E, Wetzel, Secretary

Pennsylvania Department of Corrections
1920 Technology Parkway
Mechanicsburg, PA 17050

RE: _ Isolation conditions for death-sentenced prisoners
Dear Secretary Wetzel:

We are a coalition of national and state-based civil rights organizations and firms
writing to express our concern about the conditions of isolation and_ solitary
confinement imposed on Pennsylvania’s death-sentenced prisoners. Over the past
year we have investigated those conditions and concluded that the severity and length
of isolation imposed on death-sentenced prisoners by the Commonwealth of
Pennsylvania raises serious constitutional, human rights, and human dignity
questions.

We know that the Department of Corrections (DOC) has taken important steps toward
reform of solitary confinement and isolation practices under your leadership. We
applaud that leadership and the work of your staff in implementing those reforms.
Now we would like to meet with you to discuss the possibility of implementing
reforms to the conditions for Pennsylvania’s death-sentenced prisoners. We propose
a meeting during the week of February 28 through March 3, 2017.

Conditions for Pennsylvania’s Death-Sentenced Prisoners

As mentioned above, we have been investigating the conditions for death-sentenced
prisoners in Pennsylvania for some time. Our investigation found conditions of
extreme isolation, including 22 hours of solitary confinement Monday through Friday
and 48 consecutive hours every weekend. Death-sentenced prisoners are forced to
spend approximately 94% of their lives in a steel and concrete cell that measures 7 by
12 feet. In these tiny cells, prisoners eat, sleep, use the toilet, and spend almost all of
their waking hours. Their ability to interact with other human beings is extremely
limited; this is exacerbated by the fact that the cell doors are solid steel, increasing
isolation because sound cannot easily pass through, making communication

Case 2:21-cv-01248-KSM Document 12 - Filéd 06/16/21 Page 8of16

~ extremely difficult This means s that ; any limited i inter actions pr isoners s have with officers ¢ or
medical staff are aitenuated and not meaningful. There are narrow windows in the. cell door:

- that permit only a restricted view onto the cell block, and the cells have only a limited view of ©

‘the outside world, Prisoners are subject to 24-hour illumination with no period of natural
darkness. All meals are eaten in the cell. -Visits are all non-contact, behind a glass partition,

. and death-sentenced prisoners have no physical ‘contact with family or loved ones or even oe
“counsel, ‘They are permitted three 15-minute phone calls per week. And they are denied all.

access to congregate religious. services, rehabilitative, vocational, educational, Or other a
. programs,

o Death-sentenced . prisoners are not afforded - any opportunity to challenge or - alter their

o conditions of confinement. ‘They are held.in automatic solitary confinement based ‘solely : :
-- upon their sentence. . The result of this policy choice by the DOC is that death-sentenced

"prisoners are subject to these harsh conditions not because of their conduct in prison or any
demonstrated dangerousness to staff or. other prisoners; they are. ®, subject to this extreme
isolation due to their sentences alone. . ol :

In Pennsylvania, death-sentenced prisoners ; spend decades j in ‘these conditions. This happens
“for a number of reasons related to the process of judicial review. The delays are unlikely to
‘be shortened in the near future. For death-sentenced prisoners in Pennsylvania this means an
average of over fifteen yeats in extreme isolation.

While Pennsylvania’s death-sentenced prisoners pursue their appeals, they are forced to spend
many. years suffering the devastating effects of solitary confinement. Solitary confinement
"ean cause serious and permanent harm.! Research consistently shows that solitary

: confinement i is painful, stressful, and d extremely psychologically | harmful.” 2 Such outcomes are

| See generally Flizabeth Bennion, Banning the Bing: Why Exe eme Solitary Conf nement is Cr vel and Far Too

Usual Punishment 48-23, °° INDIANA LA. (forthcoming), |: available. > at
_ ‘hitp://papers.ssrn.comy/sol3/papers, elm fabstract id= 1845 (Summarizing 3 the research on Psychiat harms of oe
solitary confinement).

2 For research on the cognitive and mental-health impairments that solitary confinement c causes, see Craig Haney,
The Social Psychology of Isolation: Why Solitary Confinement is Psychologically Harmful, 12 Prison Sery. J., at

on, A (2009); B. Arrigo. & J. Bullock, The Psychological Effects of Solitary. Confinement on Prisoners in

-Supermax Units: Reviewing What We Know and What Should Change, 52 INT'L J, OFFENDER THERAPY &
: - (COMPARATIVE CRIMINOLOGY 622-40 (2008); Kristin Cloyes et al, Assessment of Psychosocial Impairment in a
| Supermaximum Security Unit Sample, 33 CRIMINAL JUSTICE & BEHAVIOR 760-781 (2006); Peter Smith, The
Effects of Solitary Confi nement on Prison Inmates: A Brief History and Review of the Literature, 34 CRIME &
Justice - 441-528 (2006), available at. ‘http: //vevow insidetime.org/resource s/Publications/Solitary

Confinement _PSJI8t pdf; Craig Haney, Mental Health Issues in Long-Term Solitary and “Supermax”

. ‘Confinement, 49 Crime & Delinquency 124, 127 (2003) (finding high psychological trauma rates including more
_ than, 80% of prisoners suffering from anxiety, headaches, troubled sleep, or lethargy; 25% reporting suicidal
“jdeation; and over 50% reporting symptoms including heart palpitations, obsessive ruminations, confusion,
‘irrational. anger, withdrawal, violent fantasies, chronic . depression, hallucinations, perceptual distortions,
‘emotional flatness, and depression); Stuart Grassian, ‘Psychopathological Effects of Solitary Confinement, 140
‘Am. J. Psychiatry 1450, 1450-54 (1983) (finding “strikingly consistent” symptoms, including massive anxiety,

_ perceptual disturbances such as hallucinations, cognitive difficulties, memory lapses, and thought disturbances ~~

“Case 2:21-cv-01248-KSM_ Document 12 Filed 06/16/21, Page 9 of16.

~-well known to mental health practitioners in corrections. AS @ prison staff psychiatrist told - S
Human Rights Watch, “[i]t’s a standard psychiatric concept, if you put people in isolation,»

they will go insane. . . Most people i in isolation will fall apart. "3 Tn Pennsylvania, many men

and. women will be broken beyond repair due to the years they spend i in solitary confinement .. oe
—_ their minds ‘irreparably damaged before the Commonwealth executes them or their

: sentences are overtumed. “Ail veil suffer needlessly, unsupported by any valid Penological
Justification, — a ee Su : :

“laser eee a

Actoss the country, numerous states and the federal government. have {initiated policies to | -

investigate, monitor, and reduce. the use -of solitary. confinement, building on a growing |.

_ Fecognition, that - long-term - isolation is . ‘dangerous, ° counterproductive, . ‘and . costly.
_ Pennsylvania has been part of this trend for prisoners held in the Restrictive Housing Units

~”. (RHUs). ‘We are aware of the enormous work done as a result of the investigation conducted

. ‘by the Department of Justicc* as well as the changes made asa 1 result of Disability Rights.
Network of Pennsylvania v, Wetzel. Free oo a .

Following the success of these reforms, the Doc must t statt ¢ reforming its isolation practices -
for death-sentenced prisoners. Pennsylvania can manage these prisoners without automatic,
indefinite solitary confinement. Instead, the state can safely classify .death-sentenced

prisoners. using classification procedures similar to its existing policy for non-capital .

prisoners. This is not surprising; modern correctional classification uses individualized risk

_ . assessments based on objective factors, resulting in safer prisoner management. Factors such
as age and disciplinary history are far more predictive for security purposes than the
conviction status Pennsylvania currently uses to automatically and ‘permanently isolate ail

death-sentenced prisoners. 6

Correctional best | pr actices would classify death-sentenced prisoners using the same obj ective

system, used for other prisoners. .The U.S. Department of Justice’s National Institute of

Corrections has established that the essential elements of “safe and secure facilities include .

“such @ as paranoia, aggressive fantasies and mpulse-onto problems among. Massachusetts prisoners in
isolation). .

| 78 HUMAN RIGHTS waren, TLL EQUIPPED: U.S. PRISONS AND OPEENDY: 2S WITH | MENTAL. ILLNESS 149 1 nh 513

. (2003), available at http://www. tuw.org/reports /2003/usa 1003/usa1003.pdh .

: | 4 See Letter from Jocelyn Samuels, Acting Asst. Att'y Gen., & David J. Hickton, U.S. Ate 'y, to Tom Corbet,

- Gov, of Pa., Re: Investigation of the Pennsylvania Department of Corrections’ Use of Solitary Confinement on

-. . Prisoners with Serious Mental {ness and/or Intellectual Disabilities (Feb, 24, 2014), available at o bie

"http://www. justice. gov/crt/about/spl/documents/pdec _- finding 2-24-14.pdf. -

-3.See Settlement Aprosment Disability Rights Network of Pennsylvania v. Wetzel, | i 13-CY- 00635 (M.D. Pa,
Jan. 9, 2015), available at http:/www.clearinghouse.net/chDocs/public/PC-PA-0031-0003 pdf. ,

.. 4 See JAMES AUSTIN, FINDINGS IN PRISON CLASSIFICATION AND RISK ASSESSMENT, NATIONAL INSTITUTE OF 5 : :

_ (CORRECTIONS 5 (2003), available at http://www. jfa-associates. couvpublications/ncras/10 Findings 2003.pdf; -.
- see also JAMES AUSTIN & KENNETH MCGINNIS, CLASSIFICATION OF HIGH-RISK AND SPECIAL MANAGEMENT ..

‘PRISONERS, © NATIONAL |: INSTITUTE ©. OF 2... CORRECTIONS ©": (2004), °° available at

- http,//static.nicic. gov/Library/0 19468, pdf; DJ. Simourd, Use of Dynamic Risk/Need Assessment Instruments
Among Long-Term {near cer rate Offenders, 3 CRIM JUSTICE & BEHAVIOR 31, 306-323, rs,

Ok -

‘Case 2:21-cv-01248-KSM Document 12 Filed 06/16/21. Page 10 of 16

defining and conveying. x expectations ‘for behavior, including positive-behavior incentives.’

. Staff should “demonstrate. that they expect inmates to behave well by interacting extensively oe °
-. with them, treating them with respect and consideration, and ensuring that inmate living areas. 9
are maintained i in good order.”®. Nothing 3 about death-sentenced prisoners. excludes them fromo: 9.

- ‘this widely accepted theory of. management, And the DOJ recognizes that prisoner tisk-

assessment classification is an important part of management. But the severity of a pa isoner’s ak

commitment offense does not: predict violence i in prison.

: A comprehensive 2002 literature review y concluded that “then maj sjority of death row inmates do o
not exhibit serious violence within the ‘structured context of institutional confinement.”?

~ Analyzing more than ten years of data from Missouri, where death-sentenced prisoners are.
classified the same way as other prisoners and may be integrated into the general population,
the study found that death-sentenced prisoners had lower rates of institutional violence than
~- the general population of parole-eligible prisoners and that the State’s classification system _ -
worked appropriately for this subset of prisoners. . . c

Similar ly, persons convicted of murder are not n more violent i in-prison than those convicted of.
other crimes. In one study, researchers found that “relative to the other groups of inmates,
-murderers convicted of various degrees of homicide were not overly involved , . . in violent or
-assaultive rule infractions . . ... The frequency and prevalence of their involvement in
_ institutional violence was. below or near the mean for the entire inmate cohort on all of these
measures.”!!. This study supports the conclusion that prison officials should not assume that
homicide offenses are predictors of “future dangerousness; ” classification systems based
. solely on a prisoner’s commitment offense, do not cort relate with improved institutional

. ‘security.

‘Several states have successfully mainstreamed death-sentenced prisoners or eliminated
: automatic solitary confinement, As mentioned above, in Missouri, prisoners sentenced to
death have been classified according to the same criteria as all other prisoners since 1991,
—-with many death-sentenced prisoners mainstreamed into general population."?. Between 1991
and 2002, Missouri’s death-sentenced prisoners in general population neither committed nor
attempted any inmate or staff homicides, and had institutional violence rates similar to those
of life-without-parole prisoners, and well below those of parolersligibie prisoners."* Because -

4 VIRGINIA HUTCHINSON ET. AL. INMATE BEHAVIOR MANAGEMENT: THE KEY TO A SAFE AND SECURE JAIL °. .

U.S. “DEPARTMENT OF JUSTICE ‘NATIONAL INSTITUTE OF ‘CORRECTIONS 2009), available -
hittps://s3. aMazonaws, com/static, nici. ov /Librar 023882. df pe te

87d at 9,

ia " See id.

Mark D. Cunningham & Mark P. Vigen, Death Row Inmate Char ‘acter istics, Adjustment, ‘and Conf nement: vA
Critical Review of ~the. Literature, 20 Behav. Sci. Law 191, °202-03 2002), available
~http:/Avww.deathpenaliyinfo.org /documents/CunninghamDeathRowReview. pdf. oe
1 Mark D, Cunningham et al., is Death Row Obsolete? A Decade of Mainstreaming Death- Sentenced Inmates i
Missouri, 23 Behav. Sci, Law 307, 316-19 (2005). . me

‘Jon Sorensen & Mark D. Cunningham, Conviction Offense and Prison Violence: A Compar ative 2 Stuy of ne

: Murderers and Other Offender 8, 36. Cri ime & Delinquency 103, 1 (2008).
_ 2 td. pe! .
3 See Cunningham etal., fs Death Row Obsolete? supe anote 10, at 307,

-:. pursuant to which many live in conditions much less restrictive than solitary confinemen

Case 2:21-cv-01248-KSM Document 12. Filed 06/16/21 Page 110f16 ~

Missouri? 'S death- sentenced population’ s characteristics are comparable t to those of. other oO
states, and the architecture and security procedures of its prisons are similar to. most systems,
. scholars believe that Missourt’ $ : successful mainstreaming is highly replicable,"

Other states are also mainstreaming death-sentenced prisoners, Delaware recently announced
that it is disbanding death row and transferring those prisoners to other housing units where
they . have much -more . out-of-cell time and may be housed with non-death-sentenced :
"prisoners. 16. ‘Secretary Coupe stated that. the reasons for the change included not only the new
American Correctional. Association (ACA) standards related to restrictive housing but also

that the change is “humane” and beneficial to both prisoners and prisons.'? In California, a

-two-track system allows for -behavior-based classification | for death-sentenced prisoners, o
.": .
-California has maintained the two-track approach even after the consent decree mandating it
~ expired.'? North Carolina and Colorado have also abandoned automatic solitary confinement
for death-sentenced prisoners. . North Carolina prisoners sentenced to death are not
automatically placed in conditions of solitary confinement, receiving out-of-cell and group
time and opportunities for work assignments, programming, and group exercise.?? Colorado
reformed its housing policies for death-sentenced prisoners in 2014 as part of its general
reforms to reduce the use of solitary confinement, isolation, and administrative segregation in
‘the entire system, 21. Colorado announced that it would no longer automaticaily place death-
sentenced prisoners in solitary confinement; part of the impetus for these reforms was the
long period that death- sentenced prisoners would likely spend in Colorado prisons.” As of
spring 2015, death-sentenced prisoners in the state were classified to the lower security level
of close custody and mainstreamed with non-death-sentenced prisoners.”? Other states have
moved away from automatic solitary confinement after facing litigation on the issue. For
example, Virginia recently announced that it made substantial changes ( fo the, conditions for

3 See Andrea D. Lyon & Mark D. Cunningham, “Reason Not the Need”: Does the Lack af Compelling State
__ Interest in Maintaining a Separate Death Row Make It Unlawful? , 33 AM. J. Crim. L. 1, 7 (2005).
. 16 Randall Chase, “Delaware Quietly Disbands Death Row,” TIMES UNION, December 9, 2016, available at
. dittp://Awww.timesunion. com/news/crime/article/A PNewsBreak- Delaware-quietly-disbands-death-row-
- +.10786242. php : a
ig woe oe : oo
: :8 See Condemned Manual 15, § 301 (describing the two-track system), 430, § 825 ©. 130) (describing
. violations and other instances that may result in Grade, B program placement), San Quentin Operational
-Procedute, No, 608 (2013) (on file with counsel),

19 See Consent Decree at 4, Thompson v. Enomoto, No. 79- 1630-SAW (N. D, Cal. Oct. 23, 1990) (deser ibing the

.. two-track classification system to be implemented).
9 See, ¢.g., State of North Carolina, Dept. of Correction, Div. of Prisons, Policy & Procedures, Ch, C § 1200
Conditions of Confinement af .1216(b) (p. 17), .1218(a) (p.18) (including death-sentenced prisoners in work-
assignment policies). (Nov. 1, 2010, available at http://www. doc. state.nc. .us/dop/policy pr ocedure snaoual
(C1200.pdf.

*| See Rethinking Death Row: Variations in the Housing of Individuals Sentenced to Death, Arthur Liman

- “Public Interest Program, Yale Law School, July 2016, at 15, =.

id
3 id atip. 9

--. “pbee-aac70e558255,html?imode=story

Case 2:21-cv-01248-KSM ‘Document 12. . Filed 06/16/21 Page 12 of 16° oe

_death-sentenced prisoners, including increased outdoor recteation; contact visits; and a oS

Evolving Legal Context . a

There is strong new momentum in the United States to reform solitary confinement. This
‘momentum is the product of a broader cultural rethinking of the practice, its impacts, and _-
outcomes. Civil rights litigation is playing an important tole in this cultural ferment by

- simultaneously driving systems reform and exposing the harms solitary confinement wreaks
on incarcerated people, Beyond Pennsylvania, recent court decisions and settlements in states

_ dike Massachusetts,?>. California,’ and Arizona” are leading to the further development of » - :
"alternative. approaches to the management of seriously mentally ill and cognitively disabled ~.: 9.

_ individuals in corrections. Ground-breaking litigation in New York led to the exclusion of.

“- youth under 18 and pregnant women. fiom isolation units in the state prisons.”®. In California,
. the state’s use of long-term solitary on. thousands of prisoners based solely upon gang —

affiliation is now being dismantled due to a settlement that has already led to the, release of a
_ significant portion of the state’s segregation population back to general population.””

‘Litigation in Pennsylvania, including Johnson v. Wetzel” and Shoatz v. Wetzel,*' has
demonstrated the courts’ increasing reluctance to allow the use of long-term solitary
confinement. > oe Pe a

This growing momentum for change is best encapsulated by the outspoken criticism of the
practice repeatedly voiced by Supreme Court Justice Anthony Kennedy. In Davis v. Ayala, a
case involving a death-sentenced prisoner, Justice Kennedy took note of the fact that Hector
Ayala had resided in solitary confinement for the majority of his time in custody, and
acknowledged that while the physical and psychological toll of solitary confinement is weil-
documented, insufficient public attention has been given to the issue. But Justice Kennedy
also noted a “new and growing awareness” about the problems associated with solitary
~~ confinement and, most notably, appeared to invite a case to address these problems directly:
“In a case that presented the issue, the judiciary may be required, within its proper jurisdiction

’ 4 Frank Green, Virginia Death Row Conditions Lawsuit to be Argued in Appeals Court Wednesday, RICHMOND |
TIMES DISPATCH, January 24, 2017, available at http://www.richmond.con/news/article Se¢16952-1730-5b91-

-. 5 Mem. Op, & Order, Disability Law Center, Inc. v. Massachusetts Department of Correction, et al, —

No 07-10463 (MLW), (D. Mass. Apr. 12, 2012), oe Lo co
26 Order, Coleman v. Brown, 2014 WL 1400964, No. CIV. S-90-520 LIKK/DAD (PC) (E.D. Cal, Apr, 10, 2014),
27 Order, Parsons v, Ryan, Docket No. CV-12-00601-PHX-DJH, Doe 1458 (D. Ariz. Feb 25, 2015), 0°
~ #8 Stipulation for a Stay with Conditions, Peoples v, Fischer, No. 211-CV-02694-SAS (S.D.N.Y, Feb. 19,2014). -

-. 9 Settlement Agreement, Ashker v, Brown, 2014 WL 2465191, Case No, 4:09-cv-05796-CW (N.D, Cal. Aug...

31, 2015.), available at http://ecrjustice.org/sites/default/files/attach/20 1 5/09/2015-09-0 1 -ashker- Ss

: Settlement Agreementpdf - — oe Te a Se oo ee To -
“30 Mem. Op., Johnson v, Wetzel, et al. 1:16-cv-00863-CCC-MCC (M.D. Pa. Sept. 20, 2016), available at -

-“‘https://abolitionistlawcenter. files, wordpress.com/2016/09/0-pi-ruling-amended-092116.pdf. Be Se

31 Mem, Op. & Order at 12, Shoatz vy. Wetzel, et al., No. 13-cv-0657 (W.D. Pa. Feb. 12, 2016), available at
https://abolitionistlaweenter. files. word ress.com/2016/02/sj-decision-021216.pdf. :

Case 2:21-cv-01248-KSM Document12 _ Filed 06/16/21 Page 13 of 16

and authority, to determine whether workable alternative systems for long-term confinement
exist, and, if so, whether a correctional system should be required to adopt them.’*”

We believe that the DOC can find a “workable alternative system” to automatic, long-term
solitary confinement for death-sentenced prisoners without the need for court intervention.
As discussed above there are a number of successful approaches used by other states that
Pennsylvania can consider. We look forward to discussing these options and other
approaches with you. Please let us know if any day from February 29 through March 3, 2017
is an available date to meet or if there is another time that works with your schedule in the
next month,

Bret Grote

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915 15" Street, NW

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cc: Theron Perez, Chief Counsel (by email: tperez@pa.gov)
Co-counsel

WJIW/vw

® Davis v. Ayala, 135 8.Ct. 2187, 2208 (2015) (Kennedy, J., concurring),

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COMMONWEALTH OF PENNSYLVANIA.
GOVERNOR'S OFFICE OF GENERAL COUNSEL

2 jage 9,.2017 os a

Witold Walezak

“ACLU of Peunsytvania.

247 Fort Pitt Blyd..-
a ‘Pittsburgh, PA 15222

‘RE: Capital Case Housing

Dear Mr. Walezak: -

Thank you for your letter of February 13, 2017, and for the opportunity to meet
with you on April 3, 2017, to discuss your concerns with regard to the housing conditions
of capital case inmates. I tremendously appreciated the opportunity to meet with you and
your team and review your proposals for the Department of Corrections to modify its
housing policy for capital case inmates. After careful review, the Department has.
determined to continue. to administer its current capital case housing policy. oS

‘While our olients were unable to reach the. resolution you had suggested i in this

_ imatter, 1 believe that the review process used by the parties was beneficial, Please do not
hesitate to contact n me in the future with tegard t to your concerns.

“ gheaaty, a

_ PA DEPARTMENT OF CORRECTIONS | OFFICE OF CHIEF COUNSEL =
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Number:

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